Case 23-12825-MBK Doc 86 Filed 04/10/23 Entered 04/10/23 15:24:03

Document

Page 1 of 9

Desc Main

DISTRICT OF NEW JERSEY

UNITED STATES BANKRUPTCY COURT

Caption in Compliance with D.N.J. LBR 9004-1(b)

LEVY KONIGSBERG, LLP
Moshe Maimon, Esq.
mmaimon@levylaw.com

605 Third Avenue, 33 Floor

New York, NY 10158

Tel: (212) 605-6200

Fax: (212) 605-6290

Counsel for Certain Talc Claimants

In Re:
LTL MANAGEMENT, LLC,!

Debtor.

Chapter 11
Case No.: 23-12825 (MBK)

Honorable Michael B. Kaplan

CLAIMANTS’ OPPOSITION TO DEBTOR’S MOTION FOR AN ORDER:
(1) AUTHORIZING IT TO FILE A LIST OF THE TOP LAW FIRMS WITH TALC
CLAIMS AGAINST THE DEBTOR IN LIEU OF THE LIST OF THE 20 LARGEST
UNSECURED CREDITORS; (II) APPROVING CERTAIN NOTICE PROCEDURES
FOR TALC CLAIMANTS; AND (IIT) APPROVING THE FORM AND MANNER OF
NOTICE OF COMMENCEMENT OF THIS CASE

1) The law firm of Levy Konigsberg LLP (“LK”), on behalf of their various talc

claimants (“Claimants”)*, through their undersigned counsel, hereby submit this objection to the

motion of Debtor LTL Management LLC (“Debtor”) for an Order Authorizing Debtor to File a

List of the Top Law Firms With Talc Claims Against the Debtor in Lieu of the List of the 20

1 The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
501 George Street, New Brunswick, New Jersey 08933.
2 Some of the talc claimants who currently suffer from malignant mesothelioma caused by the asbestos in
the Johnson’s Baby Powder they used and were exposed to include, but are not limited to: Vishwanath
Avancha, Manerva Awad, Mary Black, Randy Derouen, Elif Doganalp, Lara Fahnlander, Kim Gray,
Virginia Harrington, Mary Iacuzzo, William Korbholz, Dominica LaBarr-Mabry, Stephen Lanzo,
Christine Lord, David Lum, Nancy Piccolo and Candyse Stanford.
Case 23-12825-MBK Doc 86 Filed 04/10/23 Entered 04/10/23 15:24:03 Desc Main
Document Page 2 of9

Largest Unsecured Creditors (the “Motion”). [Dkt. 10.]

2) LK joins in the Opposition filed by the law firm of Kazan McClain, Satterley &

Greenwood. [Dkt. 73] In addition to the compelling reasons set forth therein to deny the

Debtor’s requested relief, the lack of bona fides of the motion and the press releases surrounding
it further require its denial.

3) Specifically, on April 3, 2023 Watts Guerra LLP issued a Press Release dated April 3,
2023-claiming that the law firms that support J&J’s deal are: [1] Watts Guerra LLC; [2] Onder
Law; [3] Nachawati Law Group; [4] Ferrer Poirot Wansbrough; [5] Lanier Law Firm; [6]
Johnson Law Group; [7] Pulaski Law Firm, PLLC; [8] Trammell PC; [9] McDonald Worley;
[10] Seeger Weiss; [11] Slater, Slater & Schulman; [12] Linville Law Group; and [13] Carabin
Shaw LLP. See https://wattsguerra.com/8-9-billion-settlement-against-]j-for-talc-clients/.

A) Hand in glove with this, J&J counsel Allison Brown publicly represented that J&J’s
plan is “currently supported by roughly 70,000 claimants and numerous plaintiff law firms.”
(emphasis added).

5) As set forth in more detail in the INFORMATIONAL BRIEF OF THE AD HOC
COMMITTEE OF CERTAIN TALC CLAIMANTS REGARDING SECOND BANKRUPTCY
FILING BY LTL MANAGEMENT, LLC [Dkt.79 at 18-27], neither is true.

6) There is simply no basis for the assertion that any cancer victim has given his/her
consent and support for J&J’s undisclosed plan — let alone the number claimed by J&J’s counsel.
At most, some law firms representing a minority of talc claimants with filed cases against J&J
have pledged to support its plan. Tellingly, they are prominent in the “Top 18” the Debtor wants

to list.

3 https://news.bloomberglaw.com/bankruptcy-law/j-j-begins-audacious-return-to-failed-cancer-settlement-tactic

Case 23-12825-MBK Doc 86 Filed 04/10/23 Entered 04/10/23 15:24:03 Desc Main
Document Page 3of9

7) However, as for the support of the law firms listed in the Watts press release, already
two of the firms who purportedly “support J&J’s plan” have disclaimed this misrepresentation.
In other words, the representations in the Debtor’s motion are ~ at best — suspect. Moreover,
even when it actually filed cases in other litigations, the Watts firm* has — in the past — not had
the vast number of clients it thought it did. "The Lawyer Whose Clients Didn't Exist"

https://www., theatlantic.com/magazine/archive/2020/05/bp-oil-spill-shrimpers-

settlement/609082/ It may well be ~ as Mr. Watts has asserted — that this was the result of
internal fraud that he was completely unaware of (and we have no reason to doubt him on this);
but the integrity of this Court and its procedures should not be put at risk. Yet, based on faulty
information and misrepresentations that is exactly what the Debtor’s motion does.

8) Following Rule 1007(d) and following the law will ensure that the Top 20 List used
by the United States Trustee is as reliable as possible, and there is no legitimate reason to deviate
from either.

9) Accordingly, Claimants request that this Court deny Debtor’s motion authorizing it to
file a list of “Top Law Firms” and instead order Debtor to submit a list pursuant to Rule 1007(d),
and for such other relief as to which Claimants may be entitled.

Respectfully submitted:
LEVY KONIGSBERG LLP
By: /s/ Moshe Maimon
MOSHE MAIMON

DATED: April 10, 2023

4 According to Exhibit A of the LTL 2.0 Preliminary Injunction Complaint, Watts Guerra LLP
does not have a single filed talc lawsuit against J&J, the Debtor, or any of its affiliates.
Case 23-12825-MBK Doc 86 Filed 04/10/23 Entered 04/10/23 15:24:03 Desc Main
Document Page 4of9

UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1(b)

LEVY KONIGSBERG, LLP
Moshe Maimon, Esq.
mmaimon@levylaw.com

605 Third Avenue, 33 Floor

New York, NY 10158

Tel: (212) 605-6200

Fax: (212) 605-6290

Counsel for Certain Tale Claimants
In Re: Chapter 11

LTL MANAGEMENT, LLC, Case No.: 23-12825 (MBK)
Debtor.
Honorable Michael B. Kaplan

CERTIFICATE OF SERVICE
lL. L Maria Mastrogiacomo
1 am the Secretary/Paralegal for Moshe Maimon, Esq., who represents Various
Talc Claimants in this matter.
2. On April 10,2023, _I sent a copy of the following pleadings and/or documents

to the parties listed in the chart below.

CLAIMANTS’ OPPOSITION TO DEBTOR’S MOTION FOR AN ORDER:

() AUTHORIZING IT TO FILE A LIST OF THE TOP LAW FIRMS WITH TALC
CLAIMS AGAINST THE DEBTOR IN LIEU OF THE LIST OF THE 20 LARGEST
UNSECURED CREDITORS; (11) APPROVING CERTAIN NOTICE PROCEDURES
FOR TALC CLAIMANTS; AND (III) APPROVING THE FORM AND MANNER OF
NOTICE OF COMMENCEMENT OF THIS CASE

3. Icertify under penalty of perjury that the above documents were sent using the
mode of service indicated.
Dated: April 10, 2023

/s/ Maria Mastrogiacomo
Signature

Case 23-12825-MBK Doc 86 Filed 04/10/23 Entered 04/10/23 15:24:03 Desc Main
Document Page5of9

——————————— — SE
Paul R. DeFilippo Attomeys for Debtor; .
Wollmuth Maher & Deutsch LLP (1 Hand-Delivered
500 Fifth Avenue C Regular mail
New York, NY 10110
pdefilippo@wmd-law.com {] Certified mail/RR
Other ECF
{As authorized by the Court or by rule. Cite
the rule if applicable)
James N. Lawlor Attorneys for Debtor

Hand-Delivered

jlawlor@wmd-law.com O

{ Regular mail

O Certified mai/RR
Other ECF

(As authorized by the Court. or by rule. Cite

the rule if applicable)

Kenneth A. Rosen Attorneys for Debtor .
krosen@lowenstein.com () Hand-Delivered
[] Regular mail
CJ Certified mail/RR
Other ECF
(As authorized by the Court or by rule. Cite
the rule if applicable)
Derek J. Baker Attorneys for Cyprus .
dbaker@reedsmith.com Mines Corporation C) Hand-Delivered
( Regular mail
1 Certified mail/RR
&J Other ECF
(As authorized by the Court or by rule, Cite
the rule if applicable)
John Zachary Balasko On behalf of Creditor .
john.z.balasko@usdoj.gov UNITED STATES OF O Hand-Delivered
AMERICA

O Regular mail
OO Certified mail/RR
Other ECF

(As authorized by the Court or by rule. Cite

the rule if applicable)

Case 23-12825-MBK Doc 86 Filed 04/10/23 Entered 04/10/23 15:24:03 Desc Main

Document Page 6 of9

Walter Benzija
whenzija@halperinlaw.net

Attomeys for Blue Cross ~
Blue Shield Association

© Hand-Delivered
Regular mail

Cl] Certified mail/RR
Other ECF

(As authorized by the Court or by nile. Cite

the rule if applicable)

Lauren Bielskie
lauren. bielskie@usdoj.gov

Attomeys for U.S. Trustee

CJ Hand-Delivered
Cl Regular mail
CO) Certified mail/RR

& Other ECF
(As authorized by the Court or by rule. Cite

the rule if applicable)

Alan J. Brody
brodya@gtlaw.com

Attorneys for Bausch
Health Americas, Inc.
f/k/a Valeant
Pharmaceuticals
International

| _the rule ifapplicable)

O Hand-Delivered
(1 Regular mail
[ Certified mail/RR

Other ECF
(As authorized by the Court or by rule. Cite

E. Richard Dressei
rdressel@lexnovalaw.com

On béhaif of Creditor
Evan Plotkin and Creditor
Giovanni Sosa

() Hand-Delivered
1 Regular mail
1 Certified mail/RR

& Other ECE
(As authorized by the Court or by rule. Cite

the rule if applicable)

Brian W. Hofmeister

bwh@hofmeisterfirm.com

| Attorneys for Law Firm of
Brian W. Hofmeister on

behalf of various

claimants

Oo -Hand-Delivered
Cl Regular mail

{] Certified mai/RR
Other ECE

(As authorized by the Court or by rule. Cite

the rule if applicable)

Case 23-12825-MBK

Document

Doc 86 Filed 04/10/23 Entered 04/10/23 15:24:03 Desc Main
Page 7 of 9

EO beee ls Speed eee cut et ELEN es
Andrew J. Kelly Attorneys for Blue Cross .
akelly@kbtlaw.com Blue Shield of CU Hand-Delivered
Massachusetts, Inc. O Regular mail
C1 Certified mail//RR
Other ECF
(As authorized by the Court or by mule. Cite
the rule if applicable)
Daniel Lapinski Attomeys for Motley Rice

dlapinski@motleyrice.com

LLC

() Hand-Delivered
(1 Regular mail

O Certified mail/RR
Other ECF

(As authorized by the Court or by nile. Cite

the rule if applicable)

Mitchell Malzberg
mmalzberg@mjmalzberglaw.com

On behalf of Various
Creditor Claimants

O Hand-Delivered
C) Regular mail
C] Certified mail/RR

& Other ECF
(As authorized by the Court or by rule. Cite

the rule if applicable)

Brian J. McCormick
bmccormick@rossfellercasey.com

Attomeys for Ross Feller
Casey LLP

O Hand-Delivered
C] Regular mail

C) Certified mail/RR
Other ECF

(As authorized by the Court or by rule, Cite

the mile if applicable)

Suzanne Ratcliffe
sratcliffe@mrhfimlaw.com

ro

a

On behalf of Creditor Jan
Deborah Michelson-Boyle
and Creditor Katherine
Tollefson

C] Hand-Delivered
O Regular mail
O Certified mail/RR

Other ECF
(As authorized by the Court or by rule, Cite

the rule if applicable)

Case 23-12825-MBK

Page 8 of 9

Sommer Leigh Ross
slross@duanemorris.com

Indemnity Company of
America

Doc 86 Filed 04/10/23 Entered 04/10/23 15:24:03 Desc Main
Document

(1 Hand-Delivered

{1 Regular mail
C) Certified mail/RR
Other ECF

(As authorized by the Court or by rule. Cite

the rule if applicable)

Jeffrey M. Sponder
jetfirey.m.sponder@usdoj.gov

Attorneys for U.S. Trustee

C) Hand-Delivered
[ Regular mail
O Certified mail/RR

Other ECF

(As authorized by the Court or by rule. Cite

the rule if applicable)

Clay Thompson
cthompson@mrhfmlaw.com

On behalf of Creditor Jan

“Deborah Michelson-

Boyle, Creditor Katherine
Tollefson and Interested
Party Maune Raichle
Hartley French & Mudd,
LLC

| the rule ifapplicable)

1 Hand-Delivered
C] Regular mail
[] Certified mail/RR

Other ECF
{As authorized by the Court or by mle. Cite

US Trustee.
USTPRegion03.NE.ECF@usdoj.gov

US Trustee

{] Hand-Delivered
O Regular mail

O Certified mai/RR
Other ECF

(As authorized by the Court or by mile. Cite

the rule if applicable)

Allen J. Underwood, II

aunderwood@litedepalma.com a

_| On behalf of Attorney Lite

DePalma Greenberg &
Afandaor LLC, Creditor

‘DeéSanto Canadian Class

Action Plaintiffs and
Creditor DiSanto
Canadian Class Action
Creditors

0) Hand-Delivered:
C) Regular mail
CJ Certified mail/RR

Other ECE
{As authorized by the Court or by rule. Cite

the rule if applicable)

Case 23-12825-MBK Doc 86 Filed 04/10/23 Entered 04/10/23 15:24:03 Desc Main
Document Page 9 of9

Autumn D Highsmith
Bankruptcy & Collections Division

P.O. Box 12548 Regular mail
Austin, TX 78711-2548

[] Hand-Delivered

[) Certified mail/RR

CO Other
(As authorized by the Court or by rule, Cite

the rule if applicable)

